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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

 PAULSNITKO,JENNIFERSNITKO,JOSEPHRUIZ,                            )
  TYLERGOTHIER,JENIVERDON-PEARSON6,                                 )
      MICHAELSTORC,andTRAVISMAY,                                    )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                            Civil Action No. 2:21-cv-04405-RGK-MAR
 UNITED STATES OF AMERICA, TRACY L. WILKISON,
                                                                        )
in her official capacity as Acting United States Attorney for           )
   the Central District of California, and KRISTI KOONS                 )
     JOHNSON, in her official capacity as an Assistant                  )
      Director of the Federal Bureau of Investigation                   )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION
                                                    ON FIRST AMENDED COMPLAINT
To: (Defendant’s name and address) United States of America
                                           c/o U.S. Attorney General
                                           Merrick Garland
                                           U.S. Department of Justice
                                           950 Pennsylvania Avenue NW
                                           Washington, DC 20530-0001


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: THE VORA LAW FIRM, P.C.
                                           Nilay U. Vora (SBN 268339)
                                           Jeffrey Atteberry (SBN 266728)
                                           201 Santa Monica Blvd., Ste. 300
                                           Santa Monica, California 90401
                                           Tel. (424) 258-5190
                                           Email: nvora@voralaw.com; jatteberry@voralaw.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                 Kiry Gray
                                                                                CLERK OF COURT
                                                                Jenny

Date: June 10, 2021                                                              /s/   Jennylam
                                                                                              Signature of Clerk or Deputy Clerk
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 Civil Action No. 2:21-cv-04405-RGK-MAR

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
